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 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF CALIFORNIA
10

11                                                )
     UNITED STATES OF AMERICA                     )
12                                                )   CASE NO. 2:08-CR-00449-WBS
                                                  )
13
                                 Plaintiffs,      )
                                                  )
           vs.                                    )   STIPULATION AND (PROPOSED)
14
                                                  )   ORDER TO CONTINUE THE
15       HUNG THE LE                              )   JUDGMENT AND SENTENCING
                                                  )
                                                  )   DATE TO AUGUST 12, 2013
16
                                                  )
17                                                )
                  Defendant.                      )
18                                                )
                                                  )
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20

21         Plaintiff, the United States by Assistant United States Attorney, Mr. Jason Hitt,

22   and defendant Hung The Le by his attorney Alice W. Wong, all stipulate and agree that
23
     the judgment and sentencing calendared for Monday, July 8, 2013, at 9:30 a.m. before
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25
     the Honorable Senior United States District Court Judge, William B. Shubb, may be

26   continued to Monday, August 12, 2013, at 9:30 a.m. The Court's availability on this
27
     date, August 12, 2013, has been confirmed.
28
            Case 2:08-cr-00449-WBS Document 237 Filed 07/03/13 Page 2 of 2



 1
            The Parties need additional time to prepare for judgment and sentencing in this

 2   matter due to work schedule and conflicts and the ability to schedule a meeting with
 3
     defendant, HUNG THE LE and an interpreter.
 4

 5
     DATED: July 3, 2013                  /s/ JASON HITT
 6                                        __________________________________
                                          JASON HITT
 7
                                          Assistant United States Attorney
 8

 9
     DATED: July 3, 2013                  /s/ ALICE W. WONG
10                                        _____________________________________
                                          ALICE W. WONG
11                                        Attorney for Defendant Hung The Le
12

13
            Therefore, good cause appearing and the Parties' agreement and stipulations as set forth
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     herein, the judgment and sentencing in this matter is continued to August 12, 2013 at 9:30 a.m.
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            IT IS SO ORDERED.
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19   Dated: July 3, 2013

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